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IN THE UNITEb"sTATES DISTRICT COURT
FOR THE NORTB.ERN I)ISTRICT 0F lLLlNols

 

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CITY 012 CH]CAGO, and CHICAGO " `MAGI§'§'RA'I`E §UDGE DENLOW : _ v j'_~
POLICE oFFICERs JosEPH MCCARTHY,_ ) ';;_-__1_` ' c\ zj_,~
star 7818, ROBERT HOFER, star 3860, ) JURY DEMANDED :;__ g £_§V;
R. BULLINGTON, Star 8684,1\/1ICHAEL ) ' g:; ;.:,`
KozENKo, star 7577,J.PaADIcK,Star18980, ) <~
RICHARD CoYLE, Srar13046,MARK SMITH, ) ~* --»
star 12935, and ToNY GREEN, Srar 18670, )
)
Defendants. )
EQM.RM

NOW COMES the plaintiff, RONNIE EVANS, by his attorneys, ANITA RIVKIN-
CAROTHERS & ASSOCIATES, and ALEXANDER & ASSOCIATES, LTD., and complaining
. of the defendants, CITY OF CHICAGO, and CHICAGO POLICE OFFICERS JOSEPH

McCARTHY, ROBERT HOFER, R. BULL]NGTON, MICHAEL KOZENKO, J, HLADICK,
RICHARD COYLE, MARKl SMITH, and TUNY GREEN, state as follows:
INTRODUCTION

1. This is a civil action seeking damages against defendants for (1) conducting the affairs
of an enterpriseJ the Chicago Police Department, through a pattern of racketeering activity against
the plaintiff, including beatings, threats, strip searches, false arrests, evidence planting, peljury,

and malicious prosecution, in order to obsti‘iict"ju‘stice, and intimidate and retaliate against a

 

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Witness in a death investigation and related federal civil rights suit; (2) depriving plaintiff Wliile
acting under color of law as Chicago Police OHicers, of rights secured by the Constitution and
laws of the United States, including the rights secured by the 4“‘ and 114th Amendment to the
Constitution, by depriving plaintiff of his libduffy through malicious prosecution as part of the
Witness intimidation scheme; (3) the City of Chicago’s failure to properly instruct, supervise,
control and discipline the defendant officers, even after the City was on notice of the defendant
officers’ illegal activities; and (4) related State-Iaw violations, including Malicious Prosecution
and Iritentional Infliction of Emotional Distress.
JURISDICTION

2. This action is brought pursuant to 18 U.S.C. see. 1961 et seq., the Racketeer Influenced
and Corrupt Organizations Act (“RICO”), and pursuant to 28 U.S.C. see. 1983 and the Fourth
and Fourteenth Amendrrients to the United States Constitution. Jun'sdiction is founded upon 28
U.S.C. Sections 1331 and 1341(3) and (4) and 1343, and the aforementioned constitutional and
statutory provisions Plaintiff further invokes the supplemental jurisdiction of this Court pursuant
to Section 1367 to hear and decide claims arising out of state law.
PARTIES

3. Plaintiff is an Afn'can”Amei‘iean citizen Of the United States, who currently resides in
Chicago, Illinois.

4. Defendants McCaithy, Hofer, Bullington, Kozenko, Hladick, and Coyle Were, at all
times material to this complaint, Caucasian police officers employed by the City of Chicago,

Illinois. Defendants Smith and Green Were, at all times material to this complaint, police officers

 

 

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employed by the City of Chicago, Illinois. All the defendant officers are being sued individually
and may be collectively referred to as “the individual officers.”

5. Defendant City of Chicago (hereinafter “CITY”), at all times material to this complaint,
was a municipality duly incorporated under the laws of the State of Illinois, and is and Was the
employer of the police personnel named herein as agents of the CITY. lt is sued directly under
the Count III failure to supervise, train, control and discipline claim, and pursuant to the doctrine
of respondent superior in the related State law claims

6. At all times relevant hereto, defendant officers were acting under color of the statutes,
ordinances, regulations, customs and usages of the State of Illinois, the City of Chicago, and the
Chicago Police Department (“CPD.”), and within the scope of their employment with defendant
CITY.

FACTS

7 . On March 22, 1997 , plaintiffs cousin, Frankie Ann Perkins, a 37-year old Afiican-
American mother of three, was lawfully walking in her neighborhood in the vicinity of 3340 West
Van Buren Street, Chicago.

8. Without probable cause to stop or search Frankie Ann Perkins, defendant officers
McCarthy and Hofer did stopJ search and arrest Ms. Perkins.

9. During the arrest of Ms. Perkins, defendant officers McCarthy and Hofer, of the Special
Operations Section of the Chicago Police,u choked and physically abused the unarmed Ms.
Perkins, then stood by and watched while she died from conditions caused by their abuse

10. Defendant Hofer, trained in CPR, never attempted CPR on Ms. Perkins, and instead

instructed paramedics to not attempt to revive Ms. Perkins, although defendant Hofer had

 

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detected a pulse in Ms. Perkins seconds before paramedics arrived, a fact he did not relate to the
paramedics

ll. As a result of the killing ofFrankie Ann Perkins, her estate filed a federal civil rights
lawsuit, No. 97 C 2389, in the Northern District of Illinois. The City of Chicago settled this case
for the sum of $500,000,

12. Plaintiff Romiie Evans, along with others including Anthony Gray, witnessed the
choking of his cousin by Hofer and McCarthyuuiun a vacant lot next to his home.

13. The day following the March 22, 1997 killing of Frankie Ann Perkins, Ronnie Evans
was interviewed by a Chicago television station regarding the killing 'I`he interview, during which
Ronnie Evans accused the two ofiicers of strangling his cousin, was broadcast on the evening
news and observed by at least one of the two ochers involved iri the killing

14. Officers McCarthy and Hofer recognized Ronnie Evans as someone they had seen in
the neighborhood where Frankie Ann Perkins resided.

15. Immediately following the killing of Frankie Ann Perkins, Ronnie Evans, among others
including an Anthony Gray, gave a statement t_o the Oflice of Professional Standards (“OPS”) and
to homicide investigators, where he again stated that he witnessed the two officers strangle his
cousin.

16. OHicers Hofer and McCarthy were made aware of these statements by the Chicago
Police Department. They then discussed ways in which they could intimidate Ronnie Evans,
Anthony Gray, and others into retracting their statements

l7. OHicers Hofer and McCarthy then agreed and conspired together, and with other

officers in the Special Operations Section and the llth District of CPD, to form a plan to

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intimidate, retaliate against, and discredit Ronnie Evans and other witnesses This plan included
threats, which, if not successfi.il, would beu followed up by beatings, harassment, arrest, and
prosecution As part of this conspiracy to intimidate witnesses, Hofer and McCarthy enlisted the
aid and support of other ll"' District and Special Operations Section Chicago Police officers,
including Ofiicers Bullington, Hladick, Kozenko, Coyle, Smith, and Green, and others unamed.

18. As part of this conspiracy, approximately two weeks ader the killing of F rankie Ann
Perkins, Officers McCarthy and Bullington___ drove to the horne of Ronnie Evans and there
questioned him about his statement on the television news Then and there the two officers
threatened Ronnie Evans with unspecified harm if he did not retract his statement

19. It was further part of the conspiracy that approximately two days after the first threat,
Officers McCarthy and Bullington returned to the home of Ronnie Evans. Then and there the two
officers told Ronnie Evans that they knew he was on probation, and that if he did not retract his
statement he was going to the penitentiary Flt`lie officers also searched Ronnie Evans without
probable cause

20. ln Apiil, 1997, the estate of F rankieuAnn Perkins filed a civil rights lawsuit against the
City and two police ofticers, 97 C 23 89, N.D. of Illinois. Shortly thereafter, Oflicers McCarthy
and Hofer were made aware by CPD of the federal lawsuit At this time the goals of the
conspiracy expanded to intimidate Ronnie Evans and others from being witnesses in the federal
suit, and to retaliate for these witness’s cooperation with the federal case.

21. It was further part of the conspiracy that in April, 1997, OHicers McCarthy,
Bullington, Kozenko, and Coyle approached Ronnie Evans who was lawfully sitting in his

backyard Without probable cause or lawiiil justification, the officers ordered Ronnie Evans to

 

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come out of the yard and to put his hands onuthe police car. They then ordered Mr. Evans to strip
all his clothes off while standing outside of the police car. After Mr. Evans complied with the
order, the officers used their hands to spread the cheeks of Mr. Evans’ buttocks apart, and then
shiiied a flashlight up his anus while laughing at Mr. Evans. They then drove off after letting Mr.
Evans go.

22. lt was further part of the conspiracy that on May 12, 1997, with the earlier intimidation
tactics unsuccessful, Ofiicers McCarthy, Bulliungton, Kozenko, and Coyle, approached the home
of Ronnie Evans. Although the officers had no warrant and no lawful justification, they smashed
open the back door of the home of Ronnie Evans, and with guns drawn, ordered Mr. Evans out
into the hallway. When Mr. Evans complied with the order, one of the officers struck him,
knocking him to the ground

23. The remaining officers then continued beating Ronnie Evans while Ofiicer McCarthy
stood by anduwatched. The officers then dragged Ronnie Evans out to a police car, asking
“where is the other guy?” The officers then spotted Anthony Gray, another witness to the killing
of Frankie Ann Perkins, and said “there is the other one.” The officers grabbed Anthony Gray
and a Doris J ones (who had protested the treatment of Anthony Gray and Ronnie Evans) and
arrested them without probable cause. They then drove Ronnie Evans, Anthony Gray, and Doiis
Jones to llth District CPD headquarters

24. Upon arrival at the 11“‘ District, the four officers continued to beat Ronnie Evans.
They then forced Ronnie Evans to strip naked in front of Doris Jones, and searched his anus, also

in front ofDoris Jones.

 

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25. Then Ofiicei' McCarthy and Bullington paraded Ronnie Evans around the police
station, loudly exclaiming to their fellow officers that “this is the guy who likes to go on TV.
Whenever any of you see him, lock him up.”

26. Although no controlled substances were found on or about any of the arrestees,
Oflicers McCarthy and Bullington, as part of the conspiracy to intimidate and discredit witnesses
against them, falsely and maliciously reported that they had found controlled substances on the
arrestees As a result of the fabricated evidence, Mr. Evans was charged with felony possession
of a controlled substance

27. lt was further a part of the conspiracy that Officers Hofer and McCarthy provided false
and perjured testimony in state criminal court in order to continue the fabricated case against
Ronnie Evans, as well as a violation of probation case based on the fabricated case Mr. Evans
eventually spent 28 months behind bars in the Cook County Jail as a proximate result of the
fabricated case, until March 17, 2000, when the case was dismissed on a motion by the State to
nolle prosse the chargeJ indicative of the innocence of Ronnie Evans In addition, the State
withdrew the violation of probation case on or about October, 1999, also indicative of the
innocence of Ronnie Evans

28. Ronnie Evans was released for a short time on house arrest on the May 12, 1997 case
It was further part of the conspiracy that, approximately two weeks after the May 12, 1997 arrest,
he was again approached by Officers McCarthy and Bullington. Mr. Evans was sitting on his
front porch drinking a beer. While Officer McCarthy watched, Oflicer Bullington grabbed Ronnie
Evans’ beer and poured it out. He then made a rapid swinging motion like he was going to strike

Mr. Evans, but he stopped his fist short of Mr. Evans’ head. When Officer Bullington observed

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an eight-year old boy who lived in the same building watching the events, he threatened the boy,
stating he would ‘°slap the shit out of [him]u.” Then the officers departed laughing, after telling
Ronnie Evans “we’ll be seeing you.”

29. It was fiirther part of the conspiracy that on June 8, 1997, following Ronnie Evans’
complaint to OPS about his mistreatment during the May 12, 1997 arrest, Mr. Evans was
approached by Officer Hladick and other CPD ofiicers from the l 1“‘ District. Although Mr.
Evans was acting lawfully, Officer Hladick spotted Mr. Evans and ordered him to put his hands
on the police car. Then Ofiicer Hladick threatened Ronnie Evans, saying he “ought to whip his
ass_” Following the threat Hladick and the other officers arrested Ronnie Evans without probable
cause or lawful justification, and falsified evidence to claim that Ronnie Evans had possession of a
controlled substance when he did not.

30. At a probable cause hearing on June 8, 1997, Hladick offered perjured testimony in a
malicious attempt to keep Ronnie Evans incarcerated to fiiither the goal of the conspiracy to
intimidate Mr. Evans Despite this testimony, a finding of no probable cause was entered
Subsequently, Ofiicer Hladick offered perjured testimony before the grand jury to continue the
malicious prosecution of Ronnie Evans

31. Ronnie Evans Was temporarily released a few days auer the June 8, 1997 arrestl
About two weeks later Officer Hladick drove his squad car to Ronnie Evans’ horne and stopped
in front of Ronnie Evans’ front porch where Mr. Evans was seated. Then Officer Hladick used
his squad car’s public address system to loudly announce “Ronnie, we are coming back to get
you.” This was an attempt to further the goal of the conspiracy of intimidating Mr. Evans as a

witness

 

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32. It was further part of the conspiracy that on July 14, 1997, Of'ficers Smith and Green,
11"‘ District officers, of which Smith had preyiously been heard by witnesses in the neighborhood
threatening to “get” Ronnie Evans, stopped and arrested Ronnie Evans without lawful
justification or probable cause Although Mr. Evans was breaking no laws and possessed no
drugs, Of’licers Smith and Green falsified evidence to charge Mr. Evans with felony possession of
a controlled substance Ofr'icer Green gave false and misleading testimony in a malicious attempt
to keep Mr. Evans incarcerated Although a judge threw out this charge on the basis of lack of
probable cause, the State, based on the false testimony of Officer Green, obtained a grand jury
indictment for the charge

33. It was further part of the conspiracy that on Sept 21, 1997, Officers McCarthy and
Bullington approached Ronnie Evans, who Was lawfully in his neighborhood Then, without
lawful justification or probable cause, the two officers arrested Ronnie Evans, charging him with
disorderly conductl When Ronnie Evans asked the officers why he was being arrested, they
replied he “had been a bad boy.” The officers never showed up in court to testify in the disorderly
conduct charge, which was dismissed, indicative of the innocence of Mr. Evans

34. It was further part of the conspiracy that during the summer of 1997 Officer Hofer and
another officer approached Ronnie Evans and interrogated him about some of the plaintiffs in the
federal civil rights lawsuit regarding Frankie Ann Perkins.

35. It was further part of the conspiracy that Oflicers McCarthy and Bullington
approached Ronnie Evans at two different times during the summer of 1997 demanding that he

ca11 OPS and retract his statement that he saw Officers McCaithy and Hofer strangle his cousin.

 

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Officers McCarthy and Bullington threatdiiéd to arrest Ronnie Evans if he did not comply with
their demands

36. It was further part of the conspiracy that Of`ricer Green gave false and perjurious
testimony in or about February, 2000 in a malicious attempt to keep Ronnie Evans incarcerated

on false charges

C_OJLlLI
RICO Complaint Against Of'ficers for Racketeering Activity

1-36 Paragraphs 1 through 36 are realleged as if hilly set forth herein.

37 . The racketeering enterprise in this cause is the Chicago Police Department (“CPD” , in
and through which the defendant officers used their official positions to illegally attempt to
obstruct justice, intimidate witnesses, and retaliate against witnesses

38. As detailed above, defendant O_H‘i_¢ers McCarthy, Hofer, Bullington, Kozenko,
I-]ladick, Coyle, Smith and Green conducted or participated in the conduct of the CPD through a
pattern of racketeering activity, and conspired amongst themselves and others unamed to do the
same

39. By “racketeering activity” as useduuabove, the defendant oHicers violated several
criminal laws as detailed above, including (l)an act or threat involving extortion as chargeable
under Illinois law and punishable by imprisdiiihent for more than one year; (2) obstruction of
justice in violation of 18 U.S.C. 1503; (3) ob§f_ruuuction of a criminal investigation in violation of 18

U.S.C. 1510; (4) obstruction of state or local law enforcement in violation of 18 U.S.C. 1511;

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(5) tampering with a witness, victim or informant in violation of 18 U.S.C. 1512; and (6)
retaliating against a witness, victim, or inforth in violation of 18 U.S.C. 1513.

40. As a direct and proximate result of the racketeering violations described above,
plaintiff Ronnie Evans has been injured in his business and property, including expending
thousands of dollars in attorney fees to fight the false charges against him, and thousands of
dollars in lost wages during his 28 months incarceration on false charges, and damage to his
reputation and fiiture earning ability.

WHEREFORE, plaintiff Ronnie Evans demands judgment against the individual officers,
jointly and severally, for compensatory damages in amount in excess of $100,000, and fiirther
demands judgment against the individual offiders, jointly and severally, for treble damages in an
amount in excess of $300,000, and further demands attorney fees and the costs of this action, and

for such other relief as this Court deems just, proper, and equitable

Qggnt II

1983 Malicious Prosecution, 4th and 14th Amendment Violations
1-36 Paragraphs 1 through 36 above are realleged here as if fully set forth herein
37 . By participating in the above-described conspiracy, the individual officers sought to
and did in fact maliciously prosecute Ronnie Evans on false charges for which there was no
probable cause, including the felony controlled substance charges from the May 12, 1997 arrest
by Officers McCarthy, Bullington, Kozenko, and Coyle, which charges were resolved in plaintiffs
favor indicative of his innocence by a State motion to nolle prosse the charges on March 17,

2000.

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38, It was part of the conspiracy to give ongoing false and perjured testimony in order to
keep Ronnie Evans incarcerated on the false controlled substance charges

39. The individual officers proceeded___with the charges against the plaintiff knowing they
were false

40. The ongoing false and perjured testimony caused repeated and ongoing deprivations of
liberty for Ronnie Evans, which deprivations without lawfiil justification constitute violations of
Mr. Evans’ Constitutional rights under the 4lh and 14“‘ Amendments.

41. As a direct and proximate result of these Constitutional violations, Mr. Evans was
damaged, including the value of his liberty for_u28 months of incarceration, lost wages, attorneys
fees, pain and suffering and mental and emotional suffering and anguish

WHEREFORE, plaintiff Ronnie Evans demands judgment against the individual officers,
jointly and severally, for compensatory damages in amount in excess of $3 00,000, and further
demands judgment against the individual officers, jointly and severally, for punitive damages in an
amount in excess of $1,000,000, and fiirther demands attorney fees and the costs of this action,

and for such other relief as this Court deems just, proper, and equitable

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1983 Action Against City for Failure to Properly Instruct, Supervise, Control & Discipline
1-41. Paragraphs 1~41 above are realleged here as if fiilly set forth herein
42. The Constitutional violations detailed above were only possible for the defendant
officers to perpetrate because of the customs, policies, and practices of CPD, whereby the CITY

failed utterly to instruct, supervise, control and discipline the defendant officers

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43_ These failures include (l) failure to take any steps to control, instruct, or discipline the
defendant officers and to try to prevent further witness intirnidation, even after the CITY was on
actual notice that numerous instances of witness intimidation tactics had in fact occurred; (2)
After the CITY was on notice that defendant_oflicers were falsifying charges against Ronnie
Evans, rather than attempt to correct this injustice, the CITY instead unsuccessfully took steps to
prevent evidence Of the intimidation conspiracy from being heard in State Court proceedings
against Ronnie Evans; (3) maintaining an atmosphere and climate where Constitutional violations
are not prosecuted or punished, thus encouraging officers to violate rather than respect the
Constitutional rights of citizens, for example, no discipline was instituted against any officer for
the violations complained of above, or for the killing of Frankie Ann Perkins (notwithstanding the
$500,000 payment of taxpayer funds), except that one officer was suspended for a few days for
“disrespecting the dead body” of Frankie Aim__Perkins by dragging her on the ground and
throwing her headfirst into a van, even though-in sworn testimony Officer Hofer stated that he felt
a pulse after this abuse; (4) failure to track, notice, act upon, or correct patterns of abuse by
officers with multiple complaint files, thus encouraging a climate of Constitutional abuses', and (5)
failure to instruct or train officers in what constitutes witness intimidation, and the proper
procedures for dealing with investigations of police conduct

WHEREFORE, plaintiff Ronnie Evans demands judgment against the defendant CITY,
for compensatory damages in amount in excess of $3 00,000, and urrther demands attorney fees
and the costs of this action, and for such other relief as this Court deems just, proper, and

equitable

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nt IV
Malicious Prosecution -- State Claim Against City and Ofi“icers

1-36. Paragraphs 1 through 36 above are realleged here as if fully set forth herein

37. By participating in the above-described conspiracy, the individual officers sought to
and did in fact malicioust prosecute Ronnie-Evans on false charges for which there was no
probable cause, including the felony controlled substance charges from the May 12, 1997 arrest
by Officers McCarthy, Bullington, Kozenko, and Coyle, which charges were resolved in plaintiffs
favor indicative of his innocence by a State motion to nolle prosse the charges on March 17,
2000.

38. It was part of the conspiracy to give ongoing false and perjured testimony in order to
keep Ronnie Evans incarcerated on the false controlled substance charges

39. The individual officers proceeded with the charges against the plaintiff knowing they
were false

40. The CITY is sued in this count pursuant to the doctrine of respondent superior, in that

defendant officers performed the actions complained of while on duty and in the employ of
defendant CITY, and while acting within the scope of this employment

41. As a direct and proximate result of these Constitutional violations, Mr. Evans was
damaged, including the value of his liberty for 28 months of incarceration, lost wages, attorneys
fees, pain and suffering, and mental and emotional suffering and anguish

WHEREFORE, plaintiff Ronnie Evans demands judgment against the CITY and the

individual officers, jointly and severally, for compensatory damages in amount in excess of

$3 00,000, and further demands judgment against the individual officers, jointly and severally, for

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punitive damages in an amount in excess of $1,000,000, and firrther demands attorney fees and

the costs of this action, and for such other "felief as this Court deems justJ proper, and equitable

unt
Intentional Infliction of Ernotieii'al Distress Against CITY and Of'f`icers
1-36. Paragraphs 1 through 36 are-realleged as if fully set forth herein
37 . The above detailed conduct by the defendants was extreme and outrageous, exceeding
all bounds of human decency.

3 8. Defendants performed the acts detailed above with the intent of inflicting severe
emotional distress or with knowledge of the high probability that the conduct would cause such
distress

39. As a direct and proximate result of this conduct, plaintiff did in fact suffer severe
emotional distress, resulting in injury to his mind, body, and nervous system, including loss of
sleep, mental anguish, nightmares, and flashbacks.

40. The CITY is sued in this count pursuant to the doctrine of respondent superior, in that
defendant officers performed the actions complained of while on duty and in the employ of
defendant CITY, and while acting within the-scope of this employment

WHEREFORE, plaintiff Ronnie Evans demands judgment against the CITY and the
individual officers, jointly and severally, for compensatory damages in amount in excess of

$3 00,000, and further demands judgment against the individual officers, jointly and severally, for

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punitive damages in an amount in excess of $1,000,000, and further demands attorney fees and

the costs of this action, and for such other relief as this Court deems just, proper, and equitable

Respectf`ully submitted,

RONNIE EVANS

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One of his attorneys

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#18980, OFFICER COYLE #13046, OFFICER SHITH

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UNITED STATES DISTRICT COUR%J
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TELE.PHONE _ FAX NUMBER TELEFHONE NUMBER _ _1 _ _ _ _ _ _ FAX N'UMBER

'“E§’i‘§)_ 641-2901 _ (312) 641-2901 " ' (312) 332-3179
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